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                     EXHIBIT 2
                        Case 3:18-cv-05929-JST Document 1-2 Filed 09/27/18 Page 2 of 46



                                                                                                                                                                               PLDCM01
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Aten,e, Stare Ba' number          enCaroS3)
                                                                                                                                               .lec.rou
        DARREN EASTMAN                                                                                                                          y Superior Court of CA,
        2l446ONEIDACT.
        LOS GATOS, CA 95033                                                                                                .                    ounty of Santa Clara,
                                                                                                                                                n 8/22/2018 1:01 PM
                 TELEPHONENO            650-215-3313                         FAX NO. (Opdonao:
        E-MAIL ADDRESS (OpIIona
                                                                                                                                               Reviewed By: R Jimenez
                                        DARREN@EASTMANTECHNOLOGIES.COM
           ATTORNEY FOR                                                                                                -
                                                                                                                                                ase #1 8CV333181
            SUPERIOR COURT OF CALIFORNIA. COUNTY OF SANTA CLARA                                                                                 nvelope: 1862777
                  STREET ADDRESS:
                  MAIUNG ADDRESS: 191 N. FIRST STREET
                  cflYANDZIPcODE:       SANJOSE95II3
                      BRANCH NMJE       DTS CIVIL
                                            -
                                                               -                               -   —           -               -

             PLAINTIFF: DARRENEASTMAN                                                                               - --               --




        DEFENDANT: APPLE, INC:


        CDOES ITO                                -.



                                                              CONTRACT                                                                     I



        C COMPLAINT                                rn AMENDED COMPLAINT (Number):
                                                             I                                                                                      -


            =CROSS-COMPLAINT C                               AMENDED CROSS-COMPLAINT (Number):

            Jurisdiction (check all that         apply):
                                                                                                                                               CASE NUMBER:
        flj       ACTION IS A LIMITED CIVIL CASE
                                                                                                                                                              18CV333181
                  Amount demanded                C does not exceed $10,000
                                                 Lilt exceeds $10,000 but does not exceed $25,000
        rn ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
        C ACTION IS RECLASSIFIED by this amended complaint or cross-complaint
         Cfrom limited to unlimited
                  =from unlimited tolimited                                                    - --                -                   -        -        -


    1: Plaintiff* (name or names):
              DAR.REN EASTMAN
              alleges Causes of action against defendant (name or names):
              APPLE, INC.
    2. This pleading, including attachments and exhibits, consists of the following number of pages:                                                    43
    3; a. Each plaintiff named above is a competent adult
                  El) except plaintiff (name):
                        Ca corporation qualified to do business in California
                           Can unincorporated entity (describe):
                           =other (specify):
             b.   =Plaintiff (name):
                   =has complied with the fictitious business name laws and is doing business under the fictitious name (specify):
                  Chas complied with all licensing requirements as a licensed (specify):
              c; C Information about additional plaintiffs who are not competent adults is shown in Attachment 3c.
    4         a. Each defendant named above is a natural person
                      except defendant (name):                                                         =except defendant (name):
                           CE] a business organization, form unknown                                    (1) C a business organization, form unknown
                           =a corporation                                                               (2) C a corporation
                           Can unincorporated entity (describe):                                        (3) [] an unincorporated entity (describe):

                           Ca public entity (describe):                                                 (4) C a public entity (describe):

                           Cother (specify):                          -                                          (5) Cother (specify):
        -                     -     -       IS   ttjomi   Is mad ass acss-complsinL   plabitff means crots-oampla!narn and deFendant moans aoaa-defsMant.                          Page lot 2
-   FomAawadlocOptonUso
     judldol Cards 00 Calilo,nla                                                      COMPLAINT—Contract                           -       -                    --   cad.o,cMjprocodin,54n12
PLD-C-001 lR5v;Jonuaty 1,M71
                  Case 3:18-cv-05929-JST Document 1-2 Filed 09/27/18 Page 3 of 46



                                                                                                                                       Di nr.nni
   SHORT TITLE:                  -            --   -                         -            -      -                CAsENUMOER:
   EASTMAN v. APPLE, INC.
                                                                                                                           I 8C V333 181

  4. - (Continued)
       b. The true names of defendants sued as Does are unknown to plaintiff.
              fl Doe defendants (specify Doe numbers):                      --         ,were the agents or employees of the named
                                                                                              .

                    defendants and acted within the scope of that agency or employment
              C Doe defendants (specify Doe numbers):                                   are persons whose capacities are unknown to
                    plaintiff."                                              -



       c. &C Information about additional defendants who are not natural persons is contained in Attachment 4G.
        d.   C Defendants who are joined under Code of Civil Procedure section 382 are (names):

  5.   CT]   Plaintiff is required to comply with a claims statute, and
                 C has complied with applicable claims statutes, or
                 C is excused from complying because (specify):

 6.    C This action is subject to    = Civil Code section 1812.10 [= Civil Code section2984.4.
 7. This court is the proper court because
             a defendant entered into the contract here.
         C a defendant lived here when the contract was entered into.
     C.. 0 a defendant lives here now.
         El the contract was to be performed here.
     e. [J a defendant is a corporation or unincorporated association and its principal place of business is here.
     f C real property that is the subject of this action is located here.
     g. C other (specify):

 8. The following causes of action are attached and the statements above apply to each (each complaint must have one or
    more causes of action attached):
       CE]    Breath of Contract
       El     Common Counts
       El     Other (specify):
              §98.6, §98.7, §201, §1102.5, §3294, §3355, §3336, §11065, §11068, §12940
 q: El        Other allegations:
              35 USC §256,125 Stat.284

 10. Plaintiff prays for judgment,for costs of suit; for such relief as is fair, just, and equitable; and for
      a. r7l damages of. s 326,400
      b, CE] interest on the damages
                   [J according to proof
                   El at the rate of (specify): 10 percent per year from (date): October 1,2014
      ca El attorneys fees
                   MV of. $5,000
                   C according to proof.
        d.       other (speci):
                 See complaint for additional remedies
 it = The paragraphs of this pleading alleged on information and belief are as follows (specify paragraph numbers))

 Date:   20 AUG 2018

                         (TVPEcePRINTNMC) —            -                                        (SIGNAWRE OF     FF OR ATTORNEY)                       -
                                                                                                               Nt
                                         (If you wish to verify this pleading, affix a verification.)
'ho.C-oofRft January s.zoofl   -         --                -   COMPLAINT—Contract                                                          Par* 2ol2
      Case 3:18-cv-05929-JST Document 1-2 Filed 09/27/18 Page 4 of 46




Darren Eastman
21446 Oneda Ct.
Los Gatos, CA 95033

                     SUPERIOR COURT OF CALIFORNIA
                            COUNTY OF SANTA CLARA
DARREN EASTMAN,                              Case Number 18CV333181

               Plaintiff,
vs.                                          Date Action Filed: 8/13/2018
APPLE, INC.,

               Defendant                     FIRST AMENDED COMPLAINT


Demand's unlimited, exceeding $25,000 per CCP §85-86.1. Per Rule 8.204,
this complaint's 10,313 eligible words.


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 ii INTRODUCTION
21 Plaintiff's counsel (Ivan Halperin, 52450) submitted a 5-page demand letter

31   (with a 26-page summary of facts) to Bruce Sewell, General Counsel and
     SVP of Apple, on November 2, 2016. The letter detailed defendant's
s    nonjoinder of Mr. Eastman's critical innovation and responsibility in the
6    creation of six US utility patents. It discussed discrimination, his unlawful
7    September 23, 2014 termination (not subject to at-will employment in
s    California) and covered the intentional conversion of plaintiff's personal
9. property   and common stock after termination.


io   The defendant assigned Deborah Rice (Director of HR Legal) to investigate
ii   these claims. Neither Ms. Rice or Mr. Sewell acknowledged counsels'
12   periodic requests for updates for over one year and have yet to report any
13   findings, During this time, both plaintiff and his counsel experienced
14   significant medical events requiring hospitalization and temporary assisted
is   living, yet still attempted to cause Apple to respond in good faith. Within
16   one week of the demand letters submission to Mr. Sewell, electronic read
17   receipts (disclosed in the email submission by counsel) showed 11
is   individual devices had examined the demand letter and the extensive
19   supplemental material contained in the Points & Authorities. On February
20   27, 2018 plaintiff attempted to reach Mr. Sewell by email and it bounced-
21   Mr. Sewell ignored the case for so long he no longer worked for Apple.
22   Plaintiff emailed Mr. Sewell's manager (Tim Cook) asking for clarification;
23   whether Apple would continue ignoring plaintiffs generous latitude to
24   settle. On February 27, Diego Acevedo (Apple counsel) contacted plaintiffs
25   counsel. Mr. Acevedo stated he wished to confer (per Mr. Cook) but never
26   contacted counsel again. Plaintiff emailed Mr. Cook again on July 25,

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 i   attaching the same documents which had been sent over a year earlier to Mr.
 2   Sewell and comprise some of the Points and Authorities. Defendant has still
 3   not contacted counsel or the plaintiff, as of the time of filing. In keeping the
4    plaintiff waiting in good faith for over one year before filing, defendant has
s    exploited California's statute of limitations—purporting to "investigate" the
 6   matter without ever intending to do so. Minor v. FedEx Office & Print
 7   Services, Inc. (2016) 182 F.Supp.3d 966, 988. Intentionally ignoring counsel
 g   before litigations occurred unabated for almost two decades, as evidenced in
 9   Grant v. Apple Computer, Inc. (2001) 1-CV-802679. The guilty manager in
 a   this 2001 case was promoted to Senior Vice President in 2012.


ii   Lastly, Apple ensured plaintiff had depleted available funds for legal
12   representation from continued unemployment; forcing him to act pro se-
13   causing his sole writing of this complaint. Six causes of action are presented
14   after four sections in the statement of facts—one for intellectual property
is   nonjoinder, one for unlawful termination, one containing background how
16   Apple evolved from an honest company into a rampant and regular abuser of
17   contract, discrimination and employment law; in addition to regularly acting
is   without good faith in business dealings. This includes a disturbing practice
19   of unlawfully terminating employees in the final days before Apple's
20   October 1 fiscal calendar ends; who've made sizable contributions towards
21   Apple's success, and/or, identified key quality problems before product
22   shipment and subsequently were due favorable performance review
23   compensation and/or vested granting of common stock previously awarded.
24   Fourth, summarizes how Apple's unlawful actions have affected every
25   aspect of plaintiff's life and continue today.



                                                      2
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     STATEMENT OF FACTS
1    Plaintiff was awarded a utility patent for firmware signaling technology
2    invented during development of the original MacBook Air computer. This
3    allowed the practical sustainability of a product design where the laptop
4    battery is permanently attached and not user serviceable. This increased
5    plaintiffs credibility and value within Apple, empowering him to create
6    innovations critical to Apple's continued success. After plaintiff temporarily
7    losing his original iPhone in Milwaukee, Wisconsin, he invented a novel
8    method and apparatus for locating a lost smartphone or computing device.
9    After detailing the invention in a Radar application ticket (which is date/time
10   stamped and unchangeable) plaintiff began shopping the new feature to
11   members of engineering and ultimately the Director of iTunes marketing;
12   who decried customers, "would hate such a feature and feel Apple was
13   spying on them." The market advantage predicated Apple should allow
14   users to locate their lost devices, which're more expensive than competitors.
15   Realizing the feature would require the use of Apple's iCloud infrastructure
16   to work correctly for Mac and iOS users, plaintiff contacted Eddy Cue (VP
17   of iCloud) January 27, 2009. Mr. Cue replied that it was a good idea and
18   now, "something we have on our list to consider." Plaintiff then reached out
19   to Scott Forstall (VP of iOS) February 18, 2009 and explained his new
20   feature, and, his exchange with Mr. Cue—who responded that, "it was a
21   good suggestion."


22   After the initial June 15, 2010 release of the "Find my iPhone" feature,
23   plaintiff emailed Mr. Forstall on March 8, 2009, asking if patent protection
24   should be sought, but never heard from Mr. Forstall; he was then
25   unsuccessful soliciting Apple's patent counsel. Plaintiff emailed Rick von


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     Wohid on March 24, 2009. Rick responded less than an hour later, stating,
     "Got it. Thanks Darren. I'll get back to you on this..." Mr. von Wohid never
     responded further. Despite being the sole inventor of the process and
     technology to locate a lost computer or device, plaintiff was nonjoinder from
     four US utility patent applications later filed in 2012 and 20 13—
     subsequently granted by the USPTO.


     Plaintiff also declared a process for selling mobile tickets using an Apple
     operating system on his 2006 Intellectual Property Agreement (IPA) that
     closely resembles claims in a utility patent defendant was granted for the
11   "Passbook" application for event ticketing. Plaintiff only discovered being
11   nonjoinder in re the Passbook patent after his unlawful termination, while
     researching the previous four nonjoinder patents for potential others—which
     followed a demonstrated and repeated pattern of discrimination by Apple,
11   including, but not limited to its executives and legal group. While clearly not
15   occurring in this matter, when there's no apparent disagreement, "[a]s
IA   between inventors their word is normally taken as to who are the actual
     inventors." See Brader v. Schaeffer (1976) 193 USPQ 627, 631.


IA   A coinventor need not contribute to every claim of a patent; contribution to
     one claim's enough. "The contributor of any disclosed means of a means-
2(   plus-function claim element is a joint inventor as to that claim, unless one
21   asserting sole inventorship can show that the contribution of that means was
2;   simply a reduction to practice of the sole inventor's broader concept." See
     Ethicon Inc. v. United States Surgical Corp. (1998) 135 F.3d 1456, 1460-63,
2    45 USPQ2d 1545, 1548-1551. The electronics technician in Ethicon, who
25   contributed to one of the two alternative structures to define "the means for


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         detaining" in a claim limitation was held to be a joint inventor. Plaintiff
         contributed to at least one (or more) of the claims for all the patents in
         question, with none of the claims existing without plaintiff. Apple had no
         previous art or plans for such claims before he created Radar 6262545, and,
         his disclosures made in a 2006 IPA. Lastly, in Tucker v. Naito (1975) 188
         USPQ 260, 263 it was found inventors need not "personally construct and
         test their invention." Further, "it is not essential for the inventor to be

  I      personally involved in carrying out process steps.. .where implementation of

     l   those steps does not require the exercise of inventive skill." See In re
         DeBaun (1982) 687 F.2d 459, 463, 214 USPQ 933, 936.
11

12                                               II.
131      Plaintiff began working as an engineer for Apple in 2006, in large part from
141      the efforts of CEO Steve Jobs—who was motivated by plaintiff's idea to
151      build a low-cost Mac capable of running the OS X operation system for the
         education market; with all the ports streamlined in one place for easy,
17       securable access in academia. Plaintiff designed a computer which would
18       attain these goals while concluding graduate school; convincing Mr. Jobs to
19       implement what became the eMac computer—inspiring a future generation
20       to embrace technology. Plaintiff wasn't yet an Apple employee and
21       nonjoinder for associated design patents. GC Nancy Heinen contacted
22       plaintiff, stating she revised Apple's unsolicited idea submission policy [to
23       what it remains today] based on plaintiff's role in the eMac, and, presenting
24       the idea to Mr. Jobs of using Dave Matthews' "Everyday" for an iMac
25       commercial. For eight years after joining Apple, plaintiff earned extremely
26       positive performance reviews, a US utility patent for firmware technology,
27       and, discretionary bonuses for his work on Apple products— including a


                                                         5
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     small restricted stock grant. In 2009, Mr. Jobs made the plaintiff promise
     that he'd always work for Apple and indicated that a job would always be
     available for him—honesty and loyalty were most important; he appreciated
     plaintiffs' commitment to Apple. Mr. Jobs further instructed him to always
     report anything he felt wasn't correct via email; if the proper channels and
     points were first exhausted. As part of his position description, plaintiff was
     responsible for exception processes from the executive team in re software
8    and Mac quality issues. This caused plaintiff to give periodic updates to Mr.
g    Jobs at his request, which ceased with his 2011 death. Plaintiff occasionally
io   presented ideas for new Apple technologies, or, solutions to longstanding
ii   problems. Locating a lost device using another connected to the Internet
12   became "Find my iPhone" and saw executives feel confident it was brilliant;
13   while everybody else in the company felt it was very foolish. Such
14   frustrations are commonplace at Apple and offer a clue why Mr. Jobs was
is   passionate about having employees who'd done good work for him promise
16   to remain working for him for the balance of their career. Many talented
17   employees who've given part of their life for Apple were now regularly
18   being disciplined and terminated for reporting issues they were expected to
19   during Mr. Jobs tenure. Cronyism and a dedicated effort to ignore quality
20   issues in current and future products became the most important projects to
21   perpetuate the goal of ignoring the law and minimizing tax. This meant an
22   end to communicating anything to customers. which encouraged a justifiable
23   influx of litigation for atiticompetition, quality and safety. Notifying Mr.
24   Cook about issues(previously welcomed by Mr. Jobs) produces either no
25   response, or, a threatening one later by your direct manager. A portion of
26   nearly every day became tasked with dealing with customers, issues or
27   otherwise projects related to product litigation, often for embarrassing and


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     simple causes which never had previously happened at Apple. Updates for
     every product are often untested, causing more significant issues than those
     they resolved—sometimes rendering applications or basic functionality to be
     completely unusable until another update fixes the regression in the previous
     update; which never (or rarely) exist in comparable products worldwide.
     Document retention notices sometimes were sent by legal multiple times per
 7   week—the fire drill approach of interrupting everything to stop and fix an
8    issue which never would have existed previously began to cause undue
     strain, spawning itself yet more quality bugs; as a result of limited resources
io   and a management focus on eliminating quality assurance and engineering
ii   positions in a zeal to acquire retail and treasury employees. This destroyed
12   morale and caused many of the remaining engineers who made a difference
13   to leave after 2011. This sparked a contentious and toxic environment; hiring
14   managers with little technical experience to oversee the remaining engineers,
is   who started to disappear suddenly without warning—because a stock option
16   was due, or, a performance review which'd necessitate a large bonus and/or
17   raise. The executive teams main focus is eliminating tax liability and bad PR
18   being disseminated about Apple. No corporate responsibility exists at Apple
19   since Mr. Jobs' death. There's no accountability, with attempts at doing the
20   right thing met with swift retaliation. The continual pattern of Apple's
21   already troubled HR and legal teams affecting the company began
22   inadvertently driving Apples engineering focus, just as the elimination of
23   institutional memory becoming a strong policy of middle management.
24   Attempts to explain past failures to management in plaintiffs workgroup are
25   akin to contentious and improper communication, irrespective of role.
26   Employees who can remember when a proposed outcome has cost Apple
27   dearly, or caused significant harm are always disregarded, discredited and

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     often terminated. In 2014, plaintiff's previous manager appeared to be
     unlawfully fired by his Director (William Heilman) for suggesting in a large
     meeting that a proposed project would cost millions of dollars and hundreds
     of thousands of hours of labor without any success, and, that it'd been
     attempted twice in the last 15 years. He was terminated; then, his daughter
     was terminated shortly thereafter; in a completely different division—for
     reporting issues with toxic mold in her building, which caused her and other
     employees to work-from-home. Despite contractors confirming the building
     could never be rid of mold, Apple signed a new multiyear lease, and,
ic   encouraged staff to return to the office after simply repainting. Plaintiff's
     former manager was recruited by Steve Jobs and managed both Developer
     Relations and the Developer Technical Support organizations previously. It
     was only a matter of time before any ethical employee, or, anyone who did
     work respected by Mr. Jobs was unlawfully terminated since Mr. Cooks
11   tenure as CEO.


Ii   A regular practice among Apple management is to terminate employees in
     September, as Apple's fiscal calendar begins in October; this means that
if   compensation due for the current years' work (including stock which may
11   have taken multiple years to vest) is not granted. The stock can then be re-
     allocated to other employees and becomes an added bonus for managers to
     terminate experienced staff—this keeps both salary and tax costs minimized
2:   following the retirement of illegal anti-poaching activity at Apple after
2    losing High-Tech Employee Antitrust Litigation in 2015. Complying with
2    the law and paying what's honestly required is taboo at Apple, with judicial
2!   orders and paying tax (of any kind) representing the principal frustration of
2(   Apple's executives. Apple steadfastly - believes in ignoring it's ethical and


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     business responsibilities; with the caveat it's always cheaper to settle a
     lawsuit, which takes effort, money and time to prepare. Even when Apple is
     presented with litigation, it files ridiculous motions which regularly

 1   challenge the rule of law and disrespect both the judiciary and due process,

si   which also unnecessarily slows the judicial process. Apple tries to discredit
     and attack the character of customers and employees who've suffered
     wrongdoing and file a claim or complaint. At no point during plaintiffs
     tenure after Mr. Jobs' death has Apple done what was right and actually
     mitigated a legal issue without being ordered to do so by a court—often, a
     few years later, when the publics memory has faded. The renewed
     discussion in i-c eliminating the demurrer in California by the legislatures no
12   doubt been fueled by Apple. Plaintiff was regularly assigned to help
13   customers who wrote to executives after being ignored by Apple for
14   reporting a problem; who, subsequently filed litigation—with the issue never
is   being resolved, assuring them a nonmerchantable product. This is despite
16   being well understood by engineering after plaintiffs diagnosis—often with
17   a fix identified, but never released as an update. These customers' names
is   would appear in document retention notices plaintiff received from legal.


19   In another of plaintiffs companion workgroups (all sharing one female
20   administrative assistant, over age 40) Director Dan Lohr would regularly
21   instruct her to do inappropriate things for him; both during work hours and
22   off time—despite being nonexempt and not compensated for such actions.
23   Regularly visiting Mr. Lohr's residence to retrieve personal belongings for
24   him was commonplace. One occurrence saw her being asked to retrieve
25   Euro currency secured in his personal safe at his residence and FedEx them
26   to him while on holiday in Europe. Organizing his vacations was also
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     common; the distinction between personal servant and Apple employee
     wasn't understood by Mr. Lohr, causing the workgroups AA to be off-
     campus doing personal errands for him when needed at Apple, including
     plaintiff. Missing meal breaks commonly resulted—Mr. Lohr would never
     explain that she had a choice and could say no to such ridiculous
     discrimination without fear of being terminated as a member of a protected
     class for age discrimination. Mr. Lohr also was her direct manager,
     exercising a conflict of interest. When plaintiff would visit her cubical in
     need of sending urgent items to somebody, she'd sometimes be performing
     inappropriate tasks for Mr. Lohr, such as getting his home mail. After
11   repeated occurrence since Mr. Lohr joined Apple, it became clear why she
     was suddenly unavailable so often—after years of always being more
     available than everybody else.


Ii                                         III.
15   During his tenure at Apple from 2006 until 2014, plaintiff acquired 7
U    disabilities and became a member of a protected class in California. After
     having life-saving neurosurgery in 2013 and returning to work four months
U    earlier than his recommended twelve-month recovery, plaintiff began
is   experiencing discrimination, retaliation, reputational damage, favoritism,
     unfair business practices and ultimately unlawful termination—before the
21   unlawful conversion of his personal property, and finally, breach of contract
     and good faith in business dealings. Such occurred on September 23, 2014,
     via personal email, as all his Apple access had been disabled without his
     knowledge, while at home on a sick day, and further, occurring minutes after
2    the Office of the CEO had contacted plaintiff at home; for assistance
2E   investigating a software problem reported to Mr. Cook. Apple business is


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i    forbidden using personal email and plaintiffs manager (Eric Barkve) had•
2    refused previous scheduled 1:1 meetings. Plaintiff still hasn't received a
     written warning (as of the time of filing) and it was explained via personal
4    email that his fixing a critical quality bug in the Disk Utility application (in
s    the then pending Mac OS update known as Yosemite) and attempting to
6    solicit Mr. Barkve to do his job in ensuring the fix was integrated before
7    customer shipment was improper communication—despite Mr. Barkve and
8    his manager (Mr. Heilman) repeatedly refusing to perform their job
9    positions, which ensure critical customer-facing issues are resolved in a
io   timely manner with software updates. Plaintiff received several awards and
ii   was well-respected during his joint tenure as an Apple engineer and
12   supervisory employee; having never being given a poor performance review,
13   although management frequently omitted his IP achievements, or, key work
14   with cross-functional teams such as legal and product marketing. After
is   counsel asked plaintiff to obtain a copy of his employment file in June of
16   2015, it was found that it contained only his 2006 IPA, his termination letter
17   sent via personal email, and, a single (highly negative) performance review
is   for 2014—which Mr. Barkve submitted to HR over 3 months after
19   unlawfully terminating plaintiff. The absence of an Apple employee
20   handbook, as well as any explanation of Apple's disciplinary process for
21   either current or new employees made plaintiffs counsel realize Mr. Barkve
22   was unlawfully trying to conceal his wrongful termination of plaintiff ex
23   post facto. Why waste time in fabricating a yearly performance review for an
24   employee who hasn't worked for Apple since the previous year? An
25   uneducated, unethical and unqualified Mr. Barkve; who has no college
26   degree, no programming experience and little technical background for such
27   a demanding position as plaintiff was qualified. Plaintiff was discharged


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 i   unlawfully one day before his compensation and stock were due on 1
 2   October—as is SOP with Apple's key employees. Plaintiff unified Apple's
 3   graphics drivers (from the three companies used in Mac graphics cards,
     AMD, Intel and Nvidia) so that common functionality with external displays
s    (such as remembering which of multiple, connected displays is primary,
 5   secondary or tertiary across computer restarts and sleep) and took three years
 7   to achieve. Some engineers theorized it could not be achieved, however,
 8   plaintiff saw results via diligent effort. Mr. Barkve was well-aware of the
 9   compensation such an achievement spanning three performance reviews
o    would entail, enthusiastically discussing how this would reduce Mac support
ii   cost during a 1:1 meeting two months before his unlawful termination. It's
12   no surprise ex post facto Mr. Barkve cancelled meeting requests with
13   plaintiff in September; citing the need to leave Apple on two occasions in to
14   reclaim children from school during normal business hours. Everyone on
is   plaintiffs team indicated they'd had their performance review for 2014
is   before the second week of September. Since plaintiff had previously
17   received extremely rare and superior past reviews (which required executive
18   approval before they could be granted by his manager) plaintiff expected
19   repeat occurrence; especially given his recent projects' completion after
20   three years. Finally, plaintiffs termination letter stated he was, "providing a
21   contentious atmosphere which made employees feel uncomfortable." This
22   was instead what Mr. Barkve did regularly; both to plaintiff, his workgroup
23   and others in engineering at Apple. If plaintiff could instead conduct a
24   performance review of Mr. Barkve, it would include this exact phrase.
25   Plaintiffs termination letters not signed, has a grammatical mistake and
26   appears to have been originally written by somebody else; it's obvious Mr.
27   Barkve intended to unlawfully terminate plaintiff—with the expectation


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i    having HR deactivate his online and physical Apple access would magically
 2   communicate his premeditated malice, without him doing so. Plaintiff asked
3    Mr. Barkve on September 13, 2014 and on September 26, 2014 for all
4    documentation relating to his discharge and received nothing; making him
s    unable to initiate Apple's Decision Review Process to appeal his discharge
6    within two months, as only his termination notice and 2006 IPA are in his
7    HR file—with nothing reviewable by a legal standard. The two-month limit
a    always expires before terminated employees can get anything from HR, but,
o    plaintiff couldn't, because his fabricated review wouldn't be created until
o    March—a full 6 months after his termination.


                                           Iv.
iz   Upon the both devasting and unlawful loss of his job, property and stock
13   through no fault of his own, plaintiff was diagnosed with post-traumatic
14   stress disorder (PTSD) and continues to suffer emotional distress—from
is   such events, reputational damage, and finally, not having been employed
16   since. The American Psychiatric Association, Diagnostic and Statistical
17   Manual of Mental Disorders, 5th Edition manual describes the "essential
is   feature" of PTSD (at 274) as, "the development of characteristic symptoms
19   following exposure to one or more traumatic events." Such events (as
20   described throughout the complaint) constitute traumatic events. Plaintiff has
21   difficulty sleeping, with a recurring theme in regular nightmares indicative
22   of Apple punishing him-ac-post facto for reporting said events to legal—the
23   plaintiff's forced to continue working for Apple, but, without compensation,
24   a desk, or, access to the internal applications or tools necessary to perform
25   his job. As additional punishment for having a reasonable accommodation to
26   work-from-home, plaintiffs manager makes him travel frequently; including


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     for meetings which're subsequently cancelled after his departure. Another
     event which caused emotional distress for plaintiff was that Apple didn't
     communicate his departure internally, which caused him to continue to
     receive work-related calls on his mobile phone into the next year,
     particularly from international locations. Apple also didn't communicate his
     departure to the IRS for the following tax year, causing a dreaded IRS audit
     for 2015; which didn't help plaintiffs PTSD, or, nightmares affecting his
     ability to sleep, and, affected his ability to timely file for unemployment
     (and later) disability insurance, causing him financial loss. Plaintiffs dubbed
     Apple, "the gift which keeps on giving" as it helps frame the unlawful
     employment practices Apple's legendary for—but only known about by a
     handful of people; a result of the defendant's rich abuse of demurrers and
     motions to seal. Being the most valuable company in the world gave Apple
     free license to break the law and then use unethical legal attempts to dismiss
     (or hide) the evidence from the public. While any other company faces
     sanctions, Apple's (apparently) been rewarded for its deceit and disrespect
     for the rule of law, explaining why it continues unabated. Apple will pay any
     price to contain public disclosure of its liabilities and the Court's gladly
     acquiesced in the past—perpetuating each of the continual offenses
     described herein. Due process and the rule of law will be restored to Apple
     employees by this complaint—even if appellate court and sanctions are
     necessary. A trillion-dollar worth doesn't preclude any entity from
23   intentionally and repeatedly violating the law, without impunity.


     CAUSES OF ACTION
24   1. Plaintiffs suffered financial and reputational damage as the original and
25   putative inventor of the "Find my iPhone" feature, which later was the sole


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i    basis for the "Find my iPad" and "Find my Mac" features. Apple committed
2    nonjoinder of plaintiff in USPTO filings for utility patent applications
3    20130326643, 20130326642, 20140364099 and 20140199966. Apple must
4    amend these patents via 37 CFR 1.41(c) as a violation of 35 U.S.C. §256.


s    (A) Reputational damage qualifies for nonjoinder relief; for affecting one's
6    employment via §256, see Chou v. Univ. of Chi. (2001) 254 F.3d 1347,
7    1357. In Shukh v. Seagate Technology, LLC (2012) 873 F. Supp. 2d 1087,
s    the opinion states, "we hold that concrete and particularized reputational
g    injury can give rise to Article III standing. As we noted in Chou, "being
o    considered an inventor of important subject matter is a mark of success in
ii   one's field, comparable to being an author of an important scientific paper.
12   We reasoned that pecuniary consequences may well flow from being
13   designated as an inventor." Plaintiff hasn't been employed since his
14   unlawful termination in September of 2015. The rehabilitation of plaintiffs
is   professional reputation by joinder and recognition of said utility patents
16   would improve his employment and financial prospects. Additionally, the
17   true inventor was left off the application as a result of a mistake and not as a
18   result of deception, on the part of either the named inventor or the actual
19   inventor." Stark v. Advanced Magnetics. Inc. (1995) 894 F. Supp. 555, 560.
20   Plaintiff doesn't know (or recognize) any of the names listed as inventors for
21   the patents in question. Any deception committed by the non-inclusion of
22   plaintiff may have only occurred at an executive level (such as Mr. Forstall)
23   or, by Apple counsel; none of which had any claim, or, could otherwise
24   demonstrate participation in the development of claims in said patents. The
25   consent of others named on said patents isn't necessary for a correction to be
26   filed by Apple with the USPTO, as in Iowa State Univ. Research

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     Foundation v. Honeywell Inc., Sperry Rand Corp. (1971) 444 F.2d 406, 170,
     374. Finally, none of the claims made in said patents could exist without
     plaintiff's innovation, as shown in multiple emails with Apple executives
     before the features in-question began research or development. Plaintiff
     easily passes the "rule of reason" test as defined in Price v. Symsyk (1993)
     988 F.2d 1187, 1195. Plaintiff seeks relief per 35 U.S.C. §256 and the
     Leahy-Smith America Invents Act, codified as 125 Stat 284.


       Plaintiff additionally suffered financial and reputational damage as a joint
     inventor of the "Passbook" electronic ticketing solution. Plaintiffs IPA had
'C   specific declarations for said art and was nonjoinder from Apple's filing of
Ii   20140364148 with the USPTO. Plaintiff (again) seeks relief per 35 U.S.C.
     §256 and the Leahy-Smith America Invents Act, codified as 125 Stat. 284.


       Plaintiff was unlawfully terminated, despite at-will employment, which
1    violated the Fair Employment and Housing Act, California Labor Code
15   §98.6, §98.7 and §1102.5, California Code of Regulations §11065 and
1(   §11068, and, breach of contract.


     (A) Plaintiff won a small-claims action against Apple for concealing a
     memory defect he exposed in a personally purchased iPad Retina. Mr.
'S   Barkve was aware of the resulting memory corruption bug plaintiff filed and
2C   didn't assist in escalating to engineering management), so, §98.6 also
2    applies. This occurred in the months before plaintiff's unlawful termination,
2    as plaintiff communicated the case and outcome to his manager—retaliation
2    from Apple wasn't coincidental. §12940(h) includes protection, "from any
21   employer, labor organization, employment agency, or person to discharge,


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     expel, or otherwise discriminate against any person because the person has
     opposed any practices forbidden under this part or because the person has
     filed a complaint, testified, or assisted in any proceeding under this part."


     (B) Defendant committed "public policy" wrongful termination for fixing a
     quality bug in the Mac Disk Utility application, which would erroneously
     indicate to most users their computers hard drive was damaged when it
     wasn't, as in Turner v. Anheuser-Busch, Inc. (1994) 7 Cal.4th 1238. No
     software engineer had been assigned to Disk Utility for three years, despite
     being identified as mission critical, for obvious reasons in diagnosing and
'C   fixing hard drive problems. No fix was scheduled for the bug in question,
11   however, great concern had been escalated to plaintiff about this bug from
12   support readiness employees—in re customers mistakenly becoming certain
12   their Macs hard drive needed replacement after checking it for errors, when
14   it did not. Such a contravening public policy affected millions of free
15   product users; meeting both constitutional and state provisions, as in Gantt v.
1E   Sentry Insurance (1992) 1 Cal.4th 1083, 1094-1095 and Green v. Ralee
     Engineering Co. (1998) 19 Cal.4th 66, 79-80. This subjects Apple to tort
     liability, as in Tameny v. Atlantic Richfield Co. (1980)27 Cal.3d 167, 178,
is   Foley v. Interactive Data Corporation (1988) 47 Cal.3d 654, 675-682 and
2C   Collier v. Superior Court (1991) 228 Cal.App.3d 1117, 1121. As in
21   Stevenson v. Superior Court (1997) 16 Cal.4th 880, 887 "An employer may
22   not discharge an at will employee for a reason that violates fundamental
22   public policy." As in Jersey v. John Muir Medical center (2002) 97
24   Cal.App.4th 814, 821 it's noted that, "a discharge for the exercise of a
25   constitutionally conferred right, no less than the exercise of a statutory right,
2E   may support a wrongful termination action in violation of public policy."


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     The plaintiff never willfully breached any employment duties, was never
     habitually neglectful, or, unable to perform them. A reasonable
     accommodation doesn't constitute breaching these said three characteristics
     identified by California Labor Code §2924 as being valid reasons for
     dismissal.


6    (C) Defendant breached the express (or implied) agreement of an employer
 7   not to terminate, except in accordance with specified procedures or without
8    good cause, as in Soules v. Cadam, Inc. (1991) 2 Cal.App.4th 390, 399.
g    Given the lack of an employee handbook and no posted disciplinary
10   procedures at Apple, plaintiffs termination was a breach of contract. Plaintiff
ii   never received a written warning and wasn't issued a second warning before
12   being abruptly terminated. The policy plaintiff was alleged to violate isn't
13   documented or disseminated anywhere at Apple and was protected speech,
14   by a disabled person in a protected class. A wrongful termination claim
is   arises out of "the employer's improper discharge of an employee" in an
16   "employer-employee relationship" as in Weinbaum v. Goldfarb (1996) 46
17   Ca1.App.4th 1310, 1315. To prevail on a cause of action for breach of
is   contract, the plaintiff must prove (1) the contract, (2) the plaintiff's
19   performance of the contract or excuse for nonperformance, (3) the
20   defendant's breach, and (4) the resulting damage to the plaintiff. See
21   Richman v. Hartley (2014) 224 Cal.App.4th 1182, 1186. All four elements
22   for breach of plaintiff's employment contract are clearly met, with further
23   proof to be shown in the Points and Authorities. It's well known from
24   Robinson v. Magee (1858) 9 Cal.81, 83. that, "a contract is a voluntary and
25   lawful agreement, by competent parties, for a good consideration, to do or
26   not to do a specified thing." Apple was founded 118 years later.


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     (D) Likewise, an employer cannot harass a member of a protected class for
     being part of that class. See California Government Code §12940. Apple
     breached contract in terminating employment of a disabled employee with a
     reasonable accommodation on-file without good cause, see California Labor
     Code §1041. Plaintiff was an exemplary employee and never received a poor
     performance review, or, negative feedback concerning his communication
     (or any) ability. Plaintiff had been working from home part-time under
     written guidance from his neurosurgeon, who then approved plaintiff to
     work from home full-time one month before his termination, as a result of
'C   his unsatisfactory work conditions. Despite producing a high volume of
11   quality work from home which exceeded teammates at the office, plaintiffs
1;   manager and Director expressed disdain and uncertainty about whether
     they'd comply, but, didn't object.


14   (E) Plaintiff remains under continuing supervision and treatment for 7
15   disabilities which all began during his tenure with Apple, as defined in
1E   California Government Code §12945.2, subd. (C)(8). Its evident
13   discrimination was a "substantial motivating factor" in plaintiffs'
     termination, as in Davis v. Farmers Insurance Exchange (2016) 245
is   Cal.App.4th 1302, 1320. California. Code of Regulations §11009, subd. (c)
2C   states, "Discrimination is established if a preponderance of the evidence
21   demonstrates that an enumerated basis was a substantial motivating factor in
2    the denial of an employment benefit to that individual by the employer or
2-   other covered entity, and the denial is not justified by a permissible defense.
24   A substantial factor motivating the denial of the employment benefit is a
25   factor that a reasonable person would consider having contributed to the


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 i    denial. It does not have to be the only cause of the denial." This standard
 2    illustrates a reasonable person would conclude plaintiff was discriminated
 3    against in attempting to move into different positions to escape his growing
 4    uncomfortableness with his managers repeated careless and unethical
 s    decisions, attempting to claim recognition for his continued innovations,
 &    and, in his unlawful termination; which precluded the unlawful conversion
      of his personal belongings and vested common stock. While an employee
 8    isn't required to prove that the discriminatory motivation was the sole
 9    motivation behind a negative employment action and instead prove only a
in    causal connection between the employee's disability and the termination, the
ill   plaintiff exceeds this threshold well beyond doubt, as in Mixon v. Fair
12    Employment & Housing Comm. (1987) 192 Cal.App.3d 1306, 1319. Nobody
13    else in plaintiff's workgroup appears to have been disabled, or, had a
14    reasonable accommodation. As with everything Apple does unlawfully, past
is    and recent precedents can be found before Apple moves to "seal and
16    conceal" them from the public. In Lynn Levitan v. Apple, Inc (2016)
17    BC6224 13, one of defendant's product safety counsel was wrongfully
is    terminated after complaining of illegal and unethical issues, as well as a
19    hostile and disparate work environment. When Ms. Levitan requested to
20    work remotely, she was both criticized and denied the opportunity; even
21    though her male counterparts were able to work remotely. Ms. Levitan's
22    treatment by Apple worsened after raising questions about her work
23    environment and Apple's conduct. While Ms. Levitan was discriminated
24    against and refused the chance to work-from-home when male counterparts
25    did, plaintiff was discriminated against working-from-home when other non-
26    disabled counterparts (without reasonable accommodations on-file with HR)
27    regularly did so, without impunity. This was also the case with plaintiff.


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     (F) California Code §11065, subd. (p)(2)(M), §11068, subd. (c) even
     provide for time off completely, however, plaintiff didn't need (or request)
     leave and was performing his job at the same exemplary level he previously
     did in the office. Note §11065, subd. (p)(2)(L), specifically allows an
s    employee to work-from-home. Given §11065, subd. (p)(2)(C), states an
 6   employee may be, "transferred to a more accessible worksite," and this was
 7   never performed by defendant. On June 23, 2014 plaintiffs workgroup
s    moved to a new building, which didn't have enough capacity for everyone-
9    permission was granted from facilities to shorten all cubicles from the
in   minimum requirement. Only two cubicles on the floor had giant concrete
ii   support pillars inside them, rendering it difficult to rotate in an office chair.
12   With 7 others on plaintiffs' team in good health, Mr. Barkve approved
13   plaintiffs assignment to one of two such cubicles.


14   (G) California Code §11068 provides priority for disabled employees to
is   attain suitable alternate or vacant positions, which the plaintiff's Director
16   refused to do on multiple times when plaintiff applied and made such
17   requests when positions in his workgroup were posted publicly. Managing
is   the analysis group (known as Carpe Facto) and an equivalent engineering
19   position focused on cellular carrier updates were the two most recent
20   examples. In each instance, internal employees were moved into such roles,
21   without public applicants appearing to have been considered. As in Ca/dwell
22   v. Paramount Unified School District (1995)41 Cal.App.4th 189, 195 "an
23   employee must show the employer harbored a discriminatory intent" and the
24   plurality of evidence affirms this. Plaintiff was well-qualified to manage his
25   team and wasn't interviewed by Mr. Heilman when the position became


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available after he unlawfully terminated the current manager. Mr. Heilman
charged Mr. Barkve in team meetings with finding a replacement, despite
already working on the team, like the plaintiff. No opportunity ever existed
for a qualified applicant to be considered for the position.


    California Government Code §12940 provides that disabled employees
have a right to work under different conditions than other employees, which
never occurred without duress for the plaintiff from his manager and
Director. "Working from home is not how we do business at Apple," was
spoken to plaintiff on multiple occasions by Mr. Heilman. See Gelfo v.
Lockheed Martin Corp. (2006) 140 Cal.App.4th 34, 54. Like Gelfo, plaintiff
injured his lower back at some point at Apple, but, unrelated from his other
disabilities. In plaintiffs companion workgroup, a female program manager
appeared to be unlawfully terminated by Alan Coulson for working-from-
home while disabled. Mr. Coulson seemed to dismiss her for dialing into a
meeting he felt she should've attended in-person, despite being effective
leading the meeting in plaintiffs opinion, and, despite many other
employees also participating by telephone. The PM had a temporary medical
condition precluding any prolonged position other than lying down without
pain; which made sitting in a conference room impossible.


   Both business and contractual variants of interference occurred by the
defendant's actions. The business interference, "was wrongful by some
measure beyond the fact of the interference itself' as in Della Penna v.
Toyota Motor Sales, U.S.A., Inc. (1995) 11 Cal.4th 376, 392. Plaintiff was
directly harmed by independently wrongful acts, such as retaliation against
fixing a major quality bug and reporting numerous quality issues in products


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     before shipment, disastrous conduct in destroying his professional reputation
     by not including him in patents for his inventions, terminating him days
     before a 4-year RSU grant vested, refusing to interview him to manage his
     team despite being more qualified than every applicant, and, as Apple
     directly conspired with other companies in Silicon Valley (such as Adobe,
     Google, Intel, Intuit, Pixar and LucasJllm) to not allow plaintiff to be
     considered for jobs with other companies he was qualified for as part of
     High-Tech Employee Antitrust Litigation No. 11-CV-2509-LHK (N.D. Cal.
     Jan. 30, 2015). Plaintiff was unable to secure positions at Google and Pixar
ic   he was qualified and even interviewed for; in an attempt to escape the toxic,
1:   unaccommodating and unethical working conditions at Apple, where they
     acted as judge, jury and executioner; influencing plaintiffs' career and ability
     to leave Apple. The nonjoinder patents would've caused plaintiff to be
     awarded Apple's most prestigious (and hardest to achieve) 'award, the Apple
     Innovators Award. This award would have increased plaintiffs income and
     stature considerably—both inside and outside of Apple. Plaintiff was, "a
     stellar and highly valued employee" like the employee at a partner company
U    Apple arranged to be unlawfully fired in Popescu v. Apple Inc. (2016)
     H040508 Cal.App.4th. Pressuring a third-party company to unlawfully
2(   terminate an employee shows the regular disregard Apple has for ethics, or,
21   the rule of law. Defendant has a long history of abusing disabled employees;
2;   just before plaintiffs' tenure began with Apple in 2005, the well-liked vice
2    president of Mac hardware engineering was fired as a result of a "perception
2    that he suffers from a disability." Bucher's manager said he was "sometimes
     manic depressive," and that his coworkers didn't "know how to handle that."
2(   He then added, "I'm not sure what I'm going to do, but I think I'm going to
21   have to ask you to leave the Company," See Tim Bucher v. Apple Computer,


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     Inc. (2005) 1-CV-035201. Despite negative publicity, Apple continued its
     unethical and unlawful termination practices, often with its best
     employees—who's diligence has exposed terrible quality issues with
     products causing delay in shipment, as plaintiff often did.


     (J) Five elements must be alleged to support a claim for intentional
     contractual interference, all of which were met, or exceeded. They are "(1) a
     valid contract between plaintiff and a third-party; (2) defendant's knowledge
     of this contract; (3) defendant's intentional acts designed to induce a breach
     or disruption of the contractual relationship; (4) actual breach or disruption
'C   of the contractual relationship; and (5) resulting damage." Pacific Gas &
11   Electric Co. v. Bear Stearns & Co. (1990) 50 Cal.3d 1118, 1126. It isn't a
1;   requirement that "the defendant's conduct be wrongful apart from the
1z   interference with the contract itself, as in Quelimane Co. v. Stewart Title
1    Guaranty Co. (1998) 19 Cal.4th 26, 55. Further, a plaintiff need not establish
15   that the primary purpose of the defendant's actions was to disrupt the
1€   contract, despite being obvious here. The tort's shown even where, "the
1;   actor does not act for the purpose of interfering with the contract or desire it
U    but knows that the interference is certain or substantially certain to occur as
'S   a result of his [or her] action." (Rest. 2d Torts, §766, j, p. 12) Moreover, the
2C   notion a noncontracting defendants' interest in an "interfered-with contract"
21   doesn't provide immunity from tort liability, as in Powerhouse Motorsports
     Group, Inc. v. Yamaha Motor Corp., U.S.A. (2013) 221 Cal.App.4th 867,
2-   883-884. Under at-will employment, contractual interference may be
24   pursued if, "the defendant engaged in an independently wrongful act." See
25   Reeves v. Hanlon (2004) 33 Cal.4th 1140, 1152.



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     (K) The five necessary elements of an intentional interference tort with
     prospective economic advantage (business interference) are "(1) an
     economic relationship between the plaintiff and some third-party, with the
     probability of future economic benefit to the plaintiff; (2) the defendant's
     knowledge of that relationship; (3) intentional acts on the part of the
     defendant designed to disrupt the relationship; (4) actual disruption of the
 7   relationship; and (5) economic harm to the plaintiff proximately caused by
 8   the acts of the defendant. See Youst v. Longo (1987)43 Cal.3d 64, 71, fri. 6.
 9   The business interference tort "is consid&rably more inclusive than actions
io   based on contract or interference with contract and is thus not dependent on
ii   the existence of a valid contract." See Buckaloo v. Johnson (1975) 14 Cal.3d
12   815, 826-827. Plaintiff had a valid employment contract and IPA with
13   Apple and was a member of the core team first making Apple the world's
14   most valuable company. The five elements necessary for an intentional
is   interference tort have been met or exceeded—along with the five elements
16   of an intentional contractual interference tort.
17

18   4. Plaintiff's fully-vested Restricted Stock Units (RSU's) for 105 shares
19   (currently 735 shares after a 7-1 split on June 9, 2014; before being
20   awarded) were converted by defendant and removed from his E*TRADE
zi   brokerage account after their scheduled deposit occurred on October 1,
22   2015. Plaintiffs manager ensured his termination guaranteed his last day was
23   only 15 days before the shares vested and 1 day before defendant's fiscal
24   year ended, constituting fraud, malice andoppression, see Haines v. Parra
25   (1987) 193 Cal.App.3d 1553. California Civil Code §3294, subdivision (a)
26   provides that exemplary damages may be recovered "in an action for the
27   breach of an obligation not arising from contract, where the defendant has
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     been guilty of oppression, fraud, or malice..." Pursuant to subdivision (c) of
     that section, fraud means an intentional misrepresentation, deceit, or
 3   concealment of a material fact known to the defendant with the intention on
4    the part of the defendant of thereby depriving a person of property or legal
s    rights or otherwise causing injury. Exemplary damages are properly
 6   awardable in an action for conversion, given the required showing of malice,
 7   fraud or oppression, as in Haigler v. Donnelly (1941) 18 Cal.2d 674, 681 and
s    Cyrus v. Haveson (1976)65 Cal.App.3d 306, 316-317.


 g   (B) In Tim Bucher v. Apple Computer, Inc., defendant also terminated the
10   plaintiff just before his RSU grant was due to vest—even with an
ii   employment contract which stated, "all unvested units of restricted stock
12   granted to the plaintiff shall vest fully on the date the plaintiffs employment
13   terminates, if employment terminates for reasons other than 'cause' as
14   defined." Breaching contract with executives isn't a concern, so, handling
is   individual contributors in the same manner has been SOP. In Wayne
16   Goodrich v. Apple Inc. (2012) 1-CV-23065 1, Apple unlawfully terminated a
17   trusted, well-liked employee because his RSU grant was about to fully vest.
18   Apple has never stopped this predatory, vindictive and unlawful practice—
i    which tends to happen to the best employees; who've contributed the most
20   to Apple's phenomenal success, often at great personal cost.
21


22   Whenever an unlawful termination case with merits filed against Apple, they
23   immediately move to have the proceedings sealed—typically only done with
24   cases in re minor children and national security exceptions. Per guidance in
25   Sealing Court Records and Proceedings (2010) is states, "courts will keep
26   confidential classified information, ongoing investigations, trade secrets, and


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     the identity of minors, for example." Clearly, none of these very specialized
     conditions appear in this case; it's doubtful every Apple employment case
     involves classified information. Apple attempts to have every case sealed
     which can be publicly found, demonstrating both disregard of the First
     Amendment and incorrect understanding of the Sixth—wrongful termination
     cases are civil and not criminal—civil cases still must be impartial, Apple's
     best employees aren't guilty of national security or terrorist acts, they aren't
     minors, haven't performed a criminal act against Apple and finally, the
g    existence of a plaintiff as a former employee's not confidential, or, a trade
10   secret. Apple's "motion to seal" SOP has successfully insulated Apple from
ii   bad PR and caused affected employees (and survivors) to be unable to find
12   information about the plurality of identical cases, even with retained
13   counsel; let alone the general public—who have a right to know by law. The
14   general public and news media have a qualified right of success to court
15   proceedings and records, as in Nixon v. Warner Communications, Inc.
16   (1978) 435 US 589, 596-97. Coupled with ignoring all demand letters sent to
17   their legal group, this has allowed a discriminatory and unlawful practice to
is   continue, unabetted for over a decade, perhaps longer. The apparent absence
19   of admonishment and sanctions is disturbing—the Court rewarding Apple's
20   continued unethical motives has given HR the confidence to continue
21   unlawful employment practices; while reinforcing counsel's tactic of
22   ignoring all legal communications outside litigation, and, attempts to deceive
23   the public by wrongfully sealing cases rife with continued wrongdoing. It's
24   lawful for other business entities to operate on a common, fair and
25   transparent basis when summoned to Court, however, Apple enjoys special
26   privilege only reserved for suspected terrorists under the FISA Act and the
27   federal government—when Area 51 employees sue for injury damages. The


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     continued abuse and misinterpretation of California law by Apple to seal
     wrongful termination cases has caused a clear and present danger to others
     affected—the concept of stare decisis is preempted for Apple, as well as
     flawing the discovery process for others, ensuring the intentional lack of
     mitigation is never understood, and finally, raising the cost of actions against
     Apple to be unnecessarily high. In each instance, Apple almost always
     settles after an unnecessarily protracted amount of time, and, causes the
     plaintiff to sign a non-disclosure agreement. This strategy has continued
     unabated for over a decade; instilling no regard for law in HR, explaining
1c   why no mitigation ever happens. Apple steadfastly wants to continue its
11   routine practice of discrimination and unlawful termination, and, no
     evidence to the contrary exists, else it'd be a matter of public record. The
     Courts encouraged Apple's greed, otherwise, plaintiffs' case would never
14   have occurred, as such behavior's been commonplace at Apple before 2006.


15   (C) Given the necessary time had elapsed for plaintiff's restricted stock units
1E   to vest, defendant's in violation of California Labor Code §201 (a), which
1,   states that, "If an employer discharges an employee, the wages earned and
     unpaid at the time of discharge are due and payable immediately."
is   Withdrawing plaintiffs RSU's after they were properly granted violates not
2C   just breach of contract and §201, but also, a breach of good faith and fair
21   dealing.


2    5. The implied covenant of good faith and fair dealing is a general
21   presumption that the parties to a contract will deal with each other honestly,
24   fairly, and in good faith, so as to not destroy the right of the other party or
25   parties to receive the benefits of the contract. CACI No. 303, Breach of


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 i   Contract—Essential Factual Elements, as approved at the December 2016
2    Judicial Council Meeting of the Judicial Council of California defines four
3    different conditions where a breach can seek remedy—two of which apply in
4    this case. First, a contract must be entered into and the significant things
s    required must be met, which occurred. Secondly, the defendant may do
6    something the contract prohibited them from doing, which harms the
7    plaintiff and was a substantial factor. In both elements, the causes for action
8    are met, although only one is necessary. Implicit in the element of damage is
g    that the defendant's breach caused the plaintiff's damage, which is clearly
io   obvious in this matter. See Troyk v. Farmers Group, Inc. (2009) 171 Cal.
ii   App.4th 1305, 1352.


12   (B) In each related past case, Apple argues its duty to perform was
13   conditioned on an event which never occurred (obviously abusing
14   precedents like Consolidated World Investments, Inc., v. Lido Preferred Ltd.
is   (1992) 9 Ca1.App.4th 373, 380; even when the plaintiff proves they honored
16   the conditions on their part, and further, didn't excuse Apple from its
17   contractual obligation to grant them stock owed. The discriminatory and
18   unlawful employment practices continue at Apple—all of which constitute a
19   clear breach of good faith and constitute unfair dealing, and finally, are
20   committed against their most loyal employees. California Causes of Actions
21   §4:10 states that, "in every contract there is an implied covenant of good
22   faith and fair dealing by each party not to do anything which will deprive the
23   other parties of the benefits of the contract, and a breach of this covenant by
24   failure to deal fairly or in good faith gives rise to an action for damages."
25   See Sutherland v. Barclays American Mortgage Corp. (1997) 53
26   Cal.App.4th 299, 314, Harm v. Frasher (1960) 181 Cal.App.2d 405, 415,

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     Seaman's Direct Buying Service Inc. v. Standard Oil Co. (1984) 36 Ca1.3d
     752, 206 (overruled on other grounds) and Freeman & Mills, Inc. v. Belcher
     Oil Co. (1995) 11 Cal.4th 85, as well as Witkin, Summary of California Law,
     Contracts §743.


     (C) It's hard to find instances where Apple does anything in good faith, or,
     in fair dealing, especially since Mt. Cooks ascension. Nothing's unlawful to
     Apple until it's caught and well-documented; that's when intimidation,
     retaliation and unlawful termination occur—nearly always before review or
     stock vesting time. For any employee who dares file litigation, theft integrity
ic   and credentials are questioned, and, they're usually silenced by having the
11   case sealed and/or completing a non-disclosure agreement—after being
     compelled to settle by the judge. Apple regularly and wrongfully takes
1z   advantage of its customers and employees by artificially controlling the truth
14   from public disclosure and disregarding the rule of law. The federal
15   government will have revealed its illegal cover-up in re what it knows about
1€   the existence of extraterrestrial life before Apple's routine history of abuse,
     discrimination and unlawful termination of its best employees has any
U    chance of being disseminated to customers and shareholders, let alone the
is   general public—until now. Each time Apple succeeds in unethical acts, due
     process is further eroded; with the public trust trampled without its
21   knowledge. Courts are fair and open matters of public record, unless Apple's
2;   participating. The public knows more about alien spacecraft than Apple's
     continued conspiracy to discriminate against employees working-from-home
24   with reasonable accommodations, for example.




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 i   6. Plaintiffs personal property (including irreplaceable awards and
 2   engineering equipment) were converted, with no means made available to
 3   recover them after his unlawful termination. California Civil Code §3355
 4   and §3336 apply. Mr. Barkve approved a two-week November vacation for
s    plaintiff in June, so he could be married in Orange County. Mr. Barkve
 6   waited a month after plaintiffs "final day" at Apple in September to send his
 7   belongings and never once communicated with plaintiff, despite repeated
s    attempts via telephone and text message. When plaintiff complained to
     Apple HR in mid-November, Nicole Atkinson (HR Legal) told plaintiff his
o    possessions had been sent to his home address during the first week of
ii   November, and, that the required signature was not his, or, anyone else he
12   recognized. She made no further effort to locate said belongings and
13   wouldn't file a police report. Follow-up attempts via email and telephone
14   with Ms. Atkinson were ignored. Given the irreplaceable nature, or "peculiar
is   value" of the property converted by a "willful wrong-doer" §3335 applies,
16   see Artists Embassy v. Hunt (1958) 157 Cal.App.2d 371, 320. Further,
17   plaintiff's unanswered communications indicated his possessions weren't
is   abandoned or being donated to other employees. See United States v.
19   Crawford (2001) 239 F.3d 1086, Bruner v. Geneva County Forestry Dept
20   (2003) 865 So.2d 1167, Bobo v. Vanguard Bank & Trust Co. Inc. (1987) 512
21   So.2d 246, Right Reason Publications v. Silva (1998) 691 N.E.2d 1347,
22   Allamakee County v. Collins Trust (1999) 599 N.W.2d 448, Riverside
23   Drainage Dist. of Sedgwick County v. Hunt (2004) 99 P.3d 1135, Walker-
24   Rogers Post No. 662, Veterans of Foreign Wars of U S., Inc. v. Vigeant
25   (1980) 407 N.E.2d 1316 and Van Slooten v. Larsen (1980) 299 N.W.2d 704.




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     Plaintiff demonstrated not "renouncing utterly" his property by asking for it
     again in writing when mailing his Apple-owned devices to Mr. Barkve in
     October via FedEx, as in United States v. Real Property at 2659 Roundh ill,
     Alamo, California (1999) 194 F.3d 1020, 1026. Further, plaintiff established
     no desire to abandon his belongings, as in Zych v. Unidentified, Wrecked &
     Abandoned Vessel, believed to be SB "Lady Elgin" (1990) 755 F. Supp. 213,
     214 and City of Houston v. Van De Mark (2002) 83 S.W.3d 864.


8    7. Plaintiff suffered emotional distress from Apple's unlawful termination,
g    and, reputational damage from not being properly recognized for his
io   important innovations used worldwide daily on electronic consumer devices.
ii   The modem rule (in re emotional distress) states, "there is liability for
12   conduct exceeding all bounds usually tolerated by a decent society, of a
13   nature which is especially calculated to cause, and does cause, mental
14   distress." See Prosser, Law of Torts (4th ed. 1971) 54. Plaintiffs continued,
is   and, novel innovations have benefitted all of society worldwide, but not him;
16   either professionally or personally from his utility patent nonjoinder. Clear
17   economic, social and legal hinderances have been a direct result—it's
18   unknown if plaintiff will ever regain employment again, which can only be
ig   the product of outrageous conduct performed against his person: Prosser
20   further states that behavior may be considered outrageous if a defendant (1)
21   abuses a relation or position which gives him power to damage the plaintiffs
22   interest; (2) knows the plaintiff is susceptible to injuries through mental
23   distress; or (3) acts intentionally or unreasonably with the recognition that
24   the acts are likely to result in illness through mental distress. This is cited on
25   57 and in Fletcher v. Western National Life Insurance Co. (1970) 10 Cal.



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     App.3d 376. It's clear in this matter that (1) and (2) apply; the Court should
     respectfully decide (3), albeit moot, as only one of three's necessary.


     (B) Tortious conduct in this case has resulted (and could be expected to
4    result) in both economic loss and emotional distress. Emotional distress
s    resulted (and could be expected to result) from both the conduct of Apple
6    and the economic losses caused. In a case such as this, the invasion of
7    economic interests might well outweigh the direct invasion of emotional
a    tranquility, as in Fletcher. The tort of intentional infliction of emotional
g    distress is designed to redress primarily invasions of the personal interest in
io   emotional tranquility, not economic losses; unless, of course, the economic
11   losses result from the intentionally caused emotional distress. Restatement
12   (Second) of Torts, §46 and Prosser, Law of Torts, 43 Fletcher also found, "a
13   rule placing the emphasis where it belongs and permitting recovery of all
14   proximately caused detriment in a single cause of action is more likely to
15   engender public respect for and confidence in the judicial process than a rule
16   which would require attorneys, litigants and judges to force square pegs into
17   round holes." Further, "if an action is one in tort, punitive damages may be
18   recovered upon a proper showing of malice, fraud or oppression even though
19   the conduct constituting the tort also involves a breach of contract." See
20   Acadia, California, Ltd v. Herbert 54 Cal.2d 328, 336-337, Chelini v. Nieri
21   (supra), Haigler (supra), Wetherbee v. United Insurance Co. of America
22   (1968) 265 Ca1.App.2d 921, 928-929 and Sharp v. Automobile Club of S.
23   California (1964) 225 Cal.App12d 648, 653. Likewise, if the conduct is
24   tortious, damages for emotional distress may be recovered despite the fact
25   that the conduct also involves a breach of contract, as in Crisci v. Security
26   Ins. Co. (1967) 66 Cal.2d 425, 432-434, Acadia, California, Ltd v. Herbert

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     (supra) and Taylor v. Marine Cooks & Stewards Assn. (1954) 117
     Cal.App.2d 556, 562-563.


 3   (C) The defendants continued recalcitrance—ignoring this claim while
4    stating its counsel was investigating it for over one year without responding
s    easily meets the "continuing conduct" standard for distress in Parrott v.
6    Bank of America (1950) 97 Cal.App.2d 14, 24. Plaintiff's worry and anxiety
 7   are inferably substantial and continued, especially given his disabled and
s    impecunious condition—which was infallibly known to Apple when they
 9   acted. Susceptibility of the plaintiff to emotional distress and a defendant's
io   awareness thereof; are significant in determining liability, as in Alcorn v.
ii   Anbro Engineering, Inc. (1970) 2 Cal.3d 493, 498, fit 3. The plaintiffs
12   economic distress is decidedly severe, being unemployed since 2014. In
13   defining severity of distress, Fletcher found the term "severe emotional
14   distress" is discussed in comment to §46 of the Restatement (Second) of
is   Torts, noting that, "complete emotional tranquility is seldom attainable in
16   this world, and some degree of transient and trivial emotional distress is a
17   part of the price of living among people. The law intervenes only where the
is   distress inflicted is so severe that no reasonable man could be expected to
19   endure it. The intensity and duration of the distress are factors to be
20   considered in determining its severity. It appears, therefore, that in this
21   context, "severe" means substantial or enduring as distinguished from trivial
22   or transitory. Severe emotional distress means, then, emotional distress of
23   such substantial quantity or enduring quality that no reasonable man in a
24   civilized society should be expected to endure it." It's beyond reasonable
25   doubt that the plaintiff shouldn't be expected to endure the continued
26   distress inflicted by Apple. Fletcher also notes how, "it's well established

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     that one who, in exercising the privilege of asserting his own economic
     interests, acts in an outrageous manner may be held liable for intentional
     infliction of emotional distress." This was found in Vargas v. Ruggiero
     (1961) 197 Cal.App.2d 709, Bowden v. Spiegel, Inc. (1950) 96 Cal.App.2d
     793, State Rubbish Collectors Assn. v. Siliznoff (1952) 38 Cal.2d 330,
6    Emden v. Vitz (1948) 88 10 Cal.App.3d 396, National Life & Acc. Insurance
7    Co. v. Anderson (1985) 187 Okla. 180 and Continental Casually Co. v.
8    Garrett (1935) 173. In each of the six cases, the "severe inflicted distress"
g    doesn't appear as severe as in this case.


10   (D) Elements of a tort case for intentional infliction of emotional distress
ii   are: (1) outrageous conduct by the defendant; (2) the defendant's intention of
12   causing or reckless disregard of the probability of causing emotional
13   distress; (3) the plaintiffs suffering severe or extreme emotional distress;
14   and (4) actual and proximate causation of the emotional distress by the
is   defendant's outrageous conduct, as in Spackman v. Good (1966) 245
16   Cal.App.2d 518, 528-534, Alcorn v. Anbro Engineering, Inc., supra and
17   State Rubbish Collectors Assn. v. Siliznoff, supra. It's obvious these four
18   thresholds have been met, and further, that Apple's conduct causing distress
ig   was unprivileged, as inAgostini v. Strycula (1965) 231 Ca1.App.2d 804, 808.
20   In Golden v. Dungan (1971) 20 Cal.App.3d 295, the Court found the simple
21   allegation a process server was banging on someone's door in the middle of
22   night constituted a valid cause of action for mental distress. Nobody in
23   "civilized society" could dispute plaintiff has endured significantly more
24   unpleasant (and continued) mental distress than a process server visiting a
25   home in the evening.



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     (E) Finally, Carr v. Wm. C. Cromwell Co. (1946) 28 Cal.2s 652, 654
     explains that companies cannot claim immunity from tortious conduct of
     their employees. The employer's responsibility for the tortious conduct of his
     employee, "extends far beyond his actual or possible control over the
     conduct of the servant. It rests on the broader ground that every man who
     prefers to manage his affairs through others, remains bound to so manage
     them that 3"' persons are not injured by any breach of legal duty on the part
     of such others while acting in the scope of their employment." See Alvarez v.
     New Haven Waste Material Corp. (1999) 111 Conn. 377, 379- 381 and Wolf
     v. Sulik (1919) 93 Conn. 431, 436. Such injuries are one of the risks of the
     enterprise, as explained in Hiroshima v. Pacific Gas & Electric. Co. (1936)
     18 Cal.App.2d 24, 28, Stansellv. Safeway Stores, Inc. (1941) 44 Cal.App.2d
     822, 824, Johnson v. Monson (1920) 183 Cal. 149, 151, Martin v. Leatham
     (1937)22 Cal.App.2d 442, 445, Yates v. Taft Elks Lodge #1527 (1935) 6
     Cal.App.2d 389, 390, Rounds v. Delaware (1876) 64 N.Y. 129, 134, Doyle
     v. Scott's Cleaning Co. (1930) 31 S.W.2d 242, Alvarez v. New Haven Waste
     Material Corp. (supra), Higgins v. Watervliet Turnpike Co. (1871) 46 N.Y.
11   23, 26, Schubert v. Schubert Wagon Co. (1928) 249 N.Y. 253, 256 and Stone
     v. William M Eisen Co. (1916) 219 N.Y. 205.




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    DEMAND FOR RELIEF
    Plaintiff prays for judgment against the defendant, APPLE, INC., for
    correction of ownership (with the USPTO) for US Utility Patents
    20130326643, 20130326642, 20140364099, 20140199966 and
    20140364148, the regrant of 735 shares of Apple common stock, damages in
    the sum of $326,400 dollars, interest in the sum of $32,640 dollars, costs of
    this action, attorney fees of $5,000 and for such further relief as this Court
    may deem proper.


    I declare under penalty of perjury under the laws of the State of California that
U   the foregoing is true and correct.


            8/22/2018




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